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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case NO. SA CR l4-00146-CJC Date November 3, 2016

 

Title United States v. Peter Henry Henz

 

Present: The Honorable Douglas F. McCormick

 

 

 

Deputy Clerk: Court Reporter / Recorder:
Jazmin Dorado n/ a
Attorney(s) Present for Plaintiffs: Attorney(s) Present for Defendants:
n/ a n/ a
Proceedings: §Ilr!4§j(ll;z)imbers) Order of Detention after Hearing Held Under 18 U.S.C. §

Defendant appeared after being taken into custody on an arrest warrant issued by United
States District Judge Cormac J. Carney after the United States Pretrial Services submitted a petition
for action on conditions of pretrial release alleging that Defendant had been (1) found in possession
of devices which had Internet access and (2) found in possession of DVDs that appear to contain
child pomography. The Court conducted a hearing on the alleged violations. Based on the
information presented at the hearing, the Court finds that there is clear and convincing evidence
that Defendant committed the violations alleged in the petition. The Court finds that Defendant is
unlikely to abide by any condition or combination of conditions of release.

Defendant’s release is therefore revoked and IT IS THEREFORE ORDERED that
Defendant be detained. The bond posted to secure Defendant’s release is ordered exonerated.

Initials of Preparer JD /£)

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